                             UNITED STATES FEDERAL COURT
                              MIDDLE DISTRICT OF FLORIDA
                                     Tampa Division

                                CASE NO.: __________________

BRITTANY WILLIAMS

       Plaintiff,
vs.

DIGITAL MEDIA SOLUTIONS, LLC,

      Defendant.
________________________________/

                                    NOTICE OF REMOVAL

       Defendant, DIGITAL MEDIA SOLUTIONS, LLC pursuant to 28 U.S.C. §§ 1441, and
1446, hereby file this Notice of Removal, removing this action from the Sixth Circuit Court in and
for Pinellas County, Florida, to the United States Court for the Middle District of Florida, Tampa
Division. The removal of this action is based upon the following:

       1.      The United States District Court has original jurisdiction over this action based on
28 U.S.C. § 1441(c), the claims raised by Plaintiff in her Complaint constitute a federal question.

       2.      Venue is proper in the Middle District of Florida, Tampa Division, because the
Circuit Court action is pending within the jurisdictional confines of this District and Division. See
28 U.S.C. § 1443; 28 U.S.C. § 1446 (a).

       3.      The Civil Cover Sheet is attached hereto.

       4.      A copy of all process, and pleadings filed with the Sixth Judicial Circuit Court case
are attached hereto.
                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 12th day of June, 2019, I caused the foregoing to be
electronically filed with CM/ECF, which will provide electronic notice of such filing to all counsel
of record.

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